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 3                                   UNITED STATES DISTRICT COURT
 4                                          DISTRICT OF NEVADA
 5                                                      ***
 6       BRENT MORRIS,                                            Case No. 3:14-cv-00372-LRH-WGC
 7                                            Petitioner,
               v.                                                                ORDER
 8
         RENEE BAKER, et al.,
 9
                                           Respondents.
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11            Good cause appearing, Respondents’ Motion for Enlargement of Time (ECF No. 83) is
12   GRANTED. Respondents have until November 30, 2020, 1 to file and serve an answer to the
13   remaining claims of Petitioner’s First Amended Petition for Writ of Habeas Corpus (ECF No. 25).
14            DATED this 15th day of October, 2020.
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                                                                LARRY R. HICKS
17                                                              UNITED STATES DISTRICT JUDGE
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      Respondents requested an extension until November 26, 2020; however, that date falls on a federal
28   holiday. For clarity, the Court sets the deadline on the following business day. See Fed. R. Civ. P. 6(a)(3).


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